
Pennington, J.
— The first exception to the proceedings below is, that the action is an action of debt, when it ought to have been case. The action is grounded on a book account, and expressly made an action of debt by the act of Assembly; this exception is, therefore, frivolous. The second exception is, that the state of demand is irregular, for that the articles are charged without form. The articles are proper subjects of book account; they are set down item by item, day and date. This is clearly correct. The third exception is, that the state of demand is without date, not signed by the plaintiff' nor filed by the court; these are all true in fact, yet no error. There is no necessity to date the state of demand. , In making out the cause of action, dates are proper and requisite; that is the case here. The items are charged under their different dates, and that is all that is requisite. There is no necessity [*] for the plaintiff to sign the state of demand, though it is proper for him to do it; but he not doing it, is not error. The act of Assembly does not require the justice to file the state of demand; it directs it to be delivered to him, and it is his duty to keep it safe; and he certainly ought to identify it by some mark, and annex it to the record when sent up to this court. The method practised in other courts, of placing these papers on a file, and marking thereon the time they were delivered to him, is to be recommended; but it not being required to be *251done by positive law, the not doing of it cannot be assigned for error. This judgment must be affirmed.
Rhea, for plaintiff.
Ki HiíPATitrcK, C. J., and Eossele. — Concurred.
Judgment affirmed.
Cited in Vanguilder v. Stull, 5 Halst. 233.
